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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7                                                         CASE NO. 16-cv-01306-YGR
                                        SIERA STRUMLAUF, ET AL.,
                                   8
                                                        Plaintiffs,                          ORDER GRANTING DEFENDANT'S MOTION
                                   9                                                         FOR SUMMARY JUDGMENT
                                                  vs.
                                  10                                                         Re: Dkt. Nos. 92, 100, 105, 106
                                  11
                                        STARBUCKS CORPORATION,
                                  12
Northern District of California




                                                        Defendant.
 United States District Court




                                  13
                                              Plaintiffs Siera Strumlauf, Benjamin Robles, and Brittany Crittenden bring this putative
                                  14
                                       class action against defendant Starbucks Corporation (“Starbucks”) alleging that defendant
                                  15
                                       uniformly underfills its lattes1 and mochas2 (collectively “Lattes”). Plaintiffs allege eight causes
                                  16
                                       of action, namely (i) breach of express warranty (all plaintiffs); (ii) violation of California’s
                                  17
                                       Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750, et seq., (iii) Unfair
                                  18
                                       Competition Law (“UCL”), Cal. Bus. Prof. Code §§ 17200, et seq., and (iv) False Advertising
                                  19
                                       Law (“FAL”), Cal. Bus. Prof. Code §§ 17500, et seq.; (v) New York’s General Business Law
                                  20
                                       (“GBL”) § 349 and (vi) § 350; (vii) Florida’s Deceptive And Unfair Trade Practices Act
                                  21
                                       (“FDUTPA”), Fla. Stat. §§ 501.203(7), et seq.; and (viii) common law fraud. Strumlauf and
                                  22
                                       Robles assert all California claims (Counts 2, 3, and 4) and Crittenden asserts the New York and
                                  23
                                       Florida claims (Counts 5, 6, and 7).
                                  24

                                  25          1
                                               Lattes are hot beverages created by mixing steamed milk with espresso which are then
                                  26   topped with a layer of milk foam. (Dkt. No. 98, Undisputed Material Fact (“UMF”) No. 1.)

                                  27          2
                                                Mochas are prepared similarly to Lattes but additionally contain a semi-sweet chocolate-
                                       flavored “mocha sauce.”
                                  28
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                                   1          Now before the Court is defendant’s motion for summary judgment as to all claims.3 (Dkt.

                                   2   No. 92.) Also before the Court is plaintiffs’ motion to strike paragraphs 13–15 of the declaration

                                   3   of Debra Antonio, (Dkt. No. 92-6, Declaration of Debra Antonio (“Antonio Decl.”)), and

                                   4   paragraphs 4–5 of the declaration of Wendy Lubahn, (Dkt. No. 92-7, declaration of Wendy

                                   5   Lubahn (“Lubahn Decl.”)), pursuant to Fed. R. Civ. Pro. 56(c)(4) and Fed. R. Evid. 602, 702 and

                                   6   801. (Dkt. No. 100).4 Having carefully considered the pleadings and fully-briefed motions, the

                                   7   hearings held on November 7, 2017, and December 19, 2017, and for the reasons set forth below,

                                   8   the Court DENIES plaintiffs’ motion to strike and GRANTS defendant’s motion for summary

                                   9   judgment. 5

                                  10

                                  11          3
                                                 Defendant has filed an administrative motion to seal certain portions of two documents
                                       which contain trade secrets and proprietary sourcing and performance requirements. (Dkt. No. 91.)
                                  12
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                                       Plaintiffs have also filed sealing motions which are significantly broader. (Dkt. Nos. 98, 114,
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                                  13   121.) The Court addresses each in a separate order.
                                              4
                                  14             On November 7, 2017, the parties appeared before this Court to present their respective
                                       positions on the process for ruling on defendant’s ripe motion for summary judgment in light of
                                  15   plaintiffs’ filing of their then-new motion for class certification which submitted evidence,
                                       effectively in opposition to the summary judgment motion. (Dkt. Nos. 112, 113.) During the
                                  16
                                       hearing defendant argued that plaintiffs’ evidence advanced two new theories which were not
                                  17   alleged in the First Amended Complaint (“FAC”), (Dkt. No. 52), namely that the sum of the (i)
                                       cold milk or (ii) hot milk and espresso plus other ingredients which make up a “Latte” is less than
                                  18   the promised volume of that beverage. Plaintiffs disagreed that the theories were not within the
                                       purview of the FAC. Supplemental briefing followed. (Dkt. Nos. 115, 118.)
                                  19           On November 28, 2017, the Court held that the scope of the FAC encompasses three
                                       theories. (Dkt. No. 119.) First, the cups used by Starbucks to serve Lattes (“Hot Cups”) hold
                                  20
                                       “exactly” the promised beverage volume. (FAC ¶¶ 3, 27.) Second, “milk foam added to the top
                                  21   of Starbucks Lattes does not count toward the volume of its beverages.” (Id. ¶ 29.) Third,
                                       “Starbucks Lattes are uniformly underfilled pursuant to a standardized recipe.” (Id. ¶¶ 1, 2, 16–
                                  22   19.) The Court further held that “to the extent that plaintiffs attempt to define a Latte as anything
                                       other than a coffee drink made with espresso and steamed milk, the attempt is deemed outside the
                                  23   scope of the FAC. (Dkt. No. 119.)
                                  24          5
                                                 Plaintiffs argue that the Court should defer considering Starbucks’ motion for summary
                                  25   judgment to allow plaintiffs to continue taking fact and expert discovery. Under Rule 56(d),
                                       courts may “defer considering [a] motion [for summary judgment]” or “allow time to obtain
                                  26   affidavits or declarations or to take discovery” where the nonmoving party submits “(a) a timely
                                       application which (b) specifically identifies (c) relevant information, (d) where there is some basis
                                  27   for believing that the information sought actually exists.” Emplrs. Teamsters Local Nos. 175 &
                                       505 Pension Tr. Fund v. Clorox Co., 353 F.3d 1125, 1129-30 (9th Cir. 2004). Here, plaintiffs fail
                                  28
                                       to identify specifically such relevant information. Further, plaintiffs’ reference to forthcoming
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                                   1   I.       BACKGROUND

                                   2            Starbucks is a Washington corporation with its principal place of business in Seattle.

                                   3   (FAC ¶ 8.) Starbucks operates over 23,000 retail locations worldwide, more than half of which

                                   4   are located in the United States. (Id.) Plaintiffs are consumers who purchased Lattes at various

                                   5   Starbucks retail locations in the United States. (Id. ¶¶ 5-7.)

                                   6            Lattes are hot beverages created by mixing steamed milk with espresso which are then

                                   7   topped with a thin layer of milk foam. (UMF No. 1.) Starbucks gives customers the option of

                                   8   specifying the type of milk (e.g., skim, 2%, whole, almond, soy) and how much foam they want in

                                   9   their Latte. (Antonio Decl. ¶ 4.)

                                  10            Starbucks’ retail locations display menu boards which represent that hot beverages contain

                                  11   “‘12 fl. oz.’6 for a Tall, ‘16 fl. oz.’ for a Grande, and ‘20 fl. oz.’ for a Venti,” respectively (the

                                  12   “Promised Beverage Volume”). (FAC ¶ 1.) Plaintiffs allege that Starbucks uniformly underfills
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                                  13   its Lattes to “save on the cost of milk.” (Id. ¶¶ 1, 2, 25.) According to plaintiffs, Starbucks made

                                  14   a conscious decision to underfill Lattes when faced with financial difficulties and high milk prices

                                  15   at the end of 2007. (Id. ¶¶ 30-31.) Plaintiffs further allege that when “Lattes are created pursuant

                                  16   to the company’s standard recipe, the resulting beverages are underfilled” because (i) the

                                  17   maximum capacity of cups used to serve Lattes (“Hot Cups”) is “exactly” the Promised Beverage

                                  18   Volume; (ii) Starbucks does not fill its Hot Cups to capacity in order to accommodate milk foam

                                  19   which does not count toward the volume of its Lattes; and (iii) “the standard pitcher currently used

                                  20   by Starbucks baristas to make Lattes” contains a “Fill-To” line which results in beverages which

                                  21   contain less than the Promised Beverage Volume.

                                  22            Defendant moves for summary judgment on the grounds that plaintiff cannot prove a false

                                  23   statement or representation based on the undisputed facts. Specifically, the evidence shows that (i)

                                  24

                                  25   expert reports does not persuade in light of the fact that plaintiffs have now filed their export
                                       reports and the Court has taken these reports into consideration in ruling on defendant’s summary
                                  26   judgment motion.

                                  27            6
                                              The parties agree that “fl. oz.” refers to “fluid ounces” which is a unit of volumetric
                                       measurement.
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                                   1   the capacity of Hot Cups is greater than the Promised Beverage Volume; (ii) milk foam is a

                                   2   component of a Latte and thus counts toward volume; and (iii) Fill-To lines serve as a guide for

                                   3   baristas when pouring cold milk which expands in volume as the milk is aerated and heated to

                                   4   serving temperature.

                                   5   II.     LEGAL FRAMEWORK

                                   6           A.      Common Law Claims for Breach of Express Warranty and Fraud

                                   7           In California, New York, and Florida, a claim for breach of express warranty requires

                                   8   plaintiff to show that defendant made a false or misleading statement. Viggiano v. Hansen

                                   9   Natural Corp., 944 F.Supp.2d 877, 893-95 (C.D. Cal. 2013) (California); Goldemberg v. Johnson

                                  10   & Johnson Consumer Cos., 8 F.Supp.3d 467, 482 (S.D.N.Y. 2014) (New York); Moss v.

                                  11   Walgreen Co., 765 F.Supp.2d 1363, 1368 (S.D. Fla. 2011) (Florida). Similarly, to make out a

                                  12   claim for fraud in any of these three states a plaintiff must establish (i) an intentional false
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                                  13   statement, (ii) reliance, and (iii) damages. Manderville v. PCG & S Group, Inc., 146 Cal.App.4th

                                  14   1486, 1498 (2007) (California); Bertolotti v. A&L Int'l Motor Corp., 2016 U.S. Dist. LEXIS

                                  15   159464 (S.D. Fla. 2016) (Florida); B & M Linen, Corp. v. Kannegiesser, USA, Corp., 679

                                  16   F.Supp.2d 474, 480 (S.D.N.Y. 2010) (New York).

                                  17           B.      California Claims Under the UCL, FAL, and CLRA

                                  18           To prevail under the UCL or FAL, a plaintiff must show that “it is probable that a

                                  19   significant portion of the general consuming public or of targeted consumers, acting reasonably in

                                  20   the circumstances, could be misled” by defendant’s conduct or representation. Lavie v. Procter &

                                  21   Gamble Co., 105 Cal.App.4th 496, 508 (2003). The same is required of plaintiffs alleging claims

                                  22   under the CLRA. Consumer Advocates v. Echostar Satellite Corp., 113 Cal.App.4th 1351, 1360

                                  23   (2003) (applying the Lavie court’s “reasonable consumer” standard to plaintiff’s CLRA claim).

                                  24   Thus, each claim requires misleading conduct or a misleading representation.

                                  25           C.      New York Claims Under the GBL

                                  26           “To establish a prima facie case under GBL Section 349, ‘a plaintiff must demonstrate that

                                  27   (1) the defendant's deceptive acts were directed at consumers, (2) the acts are misleading in a

                                  28   material way, and (3) the plaintiff has been injured as a result.”’ In re Scotts EZ Seed Litig., 304
                                                                                           4
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                                   1   F.R.D. 397, 409 (S.D.N.Y. 2015) (quoting Maurizio v. Goldsmith, 230 F.3d 518, 521 (2d Cir.

                                   2   2000)). GBL Section 350 similarly requires a plaintiff to show that defendant’s conduct was

                                   3   “misleading in a material respect” and that “plaintiff was injured as a result.” Ackerman v. Coca-

                                   4   Cola Co., 2013 WL 7044866 at *8 (quoting GBL § 350); see also Medisim Ltd. v. BestMed LLC,

                                   5   2012 WL 5954757, at *6 (S.D.N.Y. 2012).

                                   6          D.      Florida Claims Under the FDUTPA

                                   7          Florida’s FDUTPA prohibits “unfair or deceptive acts or practices in the conduct of any

                                   8   trade or commerce.” Zlotnick v. Premier Sales Grp., Inc., 480 F.3d 1281, 1284 (11th Cir. 2007).

                                   9   “The Florida Supreme Court has noted that ‘deception occurs if there is a representation,

                                  10   omission, or practice that is likely to mislead the consumer acting reasonably in the circumstances,

                                  11   to the consumer’s detriment.’” Id. (quoting PNR, Inc. v. Beacon Prop. Mgmt., Inc., 842 So.2d 773,

                                  12   777 (Fla. 2003)). “This standard requires a showing of ‘probable, not possible, deception’” which
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                                  13   is likely to cause harm to “a reasonable relying consumer.” Id. (quoting Millennium Commc'ns &

                                  14   Fulfillment, Inc. v. Office of the Att'y Gen., 761 So.2d 1256, 1263 (Fla. Dist. Ct. App. 2000)).

                                  15          E.      Summary Judgment

                                  16          A party seeking summary judgment bears the initial burden of demonstrating the absence

                                  17   of a genuine issue of material fact as to the basis for the motion. Celotex Corp. v. Catrett, 477

                                  18   U.S. 317, 323 (1986). Material facts are those that might affect the outcome of the case.

                                  19   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute as to a material fact is

                                  20   “genuine” if there is sufficient evidence for a reasonable jury to return a verdict for the nonmoving

                                  21   party. Id.

                                  22          Where the moving party has the burden of proof at trial, it “must affirmatively demonstrate

                                  23   that no reasonable trier of fact could find other than for the moving party.” Soremekun v. Thrifty

                                  24   Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007). If the moving party meets its initial burden, the

                                  25   opposing party must then set out specific facts showing a genuine issue for trial in order to defeat

                                  26   the motion. Anderson, 477 U.S. at 250; Soremekun, 509 F.3d at 984; see Fed. R. Civ. P. 56(c), (e).

                                  27   The opposing party’s evidence must be more than “merely colorable” and must be “significantly

                                  28   probative.” Anderson, 477 U.S. at 249–50. Further, the opposing party may not rest upon mere
                                                                                         5
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                                   1   allegations or denials of the adverse party’s evidence, but instead must produce admissible

                                   2   evidence showing a genuine dispute of material fact exists. See Nissan Fire & Marine Ins. Co.,

                                   3   Ltd. v. Fritz Cos., Inc., 210 F.3d 1099, 1102–03 (9th Cir. 2000). “Disputes over irrelevant or

                                   4   unnecessary facts will not preclude a grant of summary judgment.” T.W. Elec. Serv., Inc. v. Pac.

                                   5   Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987).

                                   6          Nevertheless, when deciding a summary judgment motion, a court must view the evidence

                                   7   in the light most favorable to the nonmoving party and draw all justifiable inferences in its favor.

                                   8   Anderson, 477 U.S. at 255; Hunt v. City of Los Angeles, 638 F.3d 703, 709 (9th Cir. 2011). A

                                   9   district court may only base a ruling on a motion for summary judgment upon facts that would be

                                  10   admissible in evidence at trial. In re Oracle Corp. Sec. Litig., 627 F.3d 376, 385 (9th Cir. 2010);

                                  11   Fed. R. Civ. P. 56(c).

                                  12   III.   DISCUSSION
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                                  13          A.      Motion to Strike

                                  14          As a threshold matter, plaintiffs move to strike under Rule 56(c)(4) two declarations filed

                                  15   in support of the summary judgment motion. (Dkt. No. 100.) Rule 56(c)(4) provides that “[a]n

                                  16   affidavit or declaration used to support or oppose a motion must be made on personal knowledge,

                                  17   set out facts that would be admissible in evidence, and show that the affiant or declarant is

                                  18   competent to testify on the matters stated.”

                                  19          The Court finds that plaintiffs’ motion to strike is not proper under Rule 56(c)(4) for two

                                  20   reasons. First, Rule 56 does not provide a means for striking declarations. Rather, plaintiffs’

                                  21   objections are more accurately characterized as evidentiary. Pursuant to Local Rule 7-3(a)

                                  22   evidentiary objections “must be contained within the [objecting party’s] brief or memorandum.”

                                  23   Here, plaintiffs make their evidentiary objections in a separate motion rather than within their

                                  24   opposition brief as required by Local Rule 7-3(a) which is procedurally improper and an

                                  25   independent basis to deny the motion.

                                  26          Second, and in any event, the objections are without merit because Antonio and Lubhan

                                  27   are “competent to testify on the matters stated” in their respective declarations. Civ. L.R. 7-5(b).

                                  28   Antonio has worked for Starbucks since 2004. (Antonio Decl. ¶¶ 1-2.) She currently serves as a
                                                                                         6
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                                   1   manager in Starbucks’ product research and development unit and is thus competent to testify

                                   2   regarding Starbucks’ milk steaming process, the different types of milk made available to

                                   3   customers, and the fact that cold milk expands as it is aerated, foamed, and heated to serving

                                   4   temperature. (Id. ¶¶ 13–15.) Lubahn has 40 years of experience in the field of quality assurance

                                   5   and has worked as a “senior manager, quality assurance and food safety for packaging” at

                                   6   Starbucks since 2013. (Lubahn Decl. ¶¶ 1-2.) Accordingly, Lubahn too is competent to testify

                                   7   regarding the volume capacity specifications for Starbucks cups used to serve hot beverages. (Id.

                                   8   ¶¶ 4–5.) Therefore, the motion to strike is DENIED.

                                   9          B.       Motion for Summary Judgment

                                  10          Defendant asserts that Starbucks is entitled to summary judgment because all eight of

                                  11   plaintiffs’ claims require a false or misleading representation and plaintiffs cannot satisfy this

                                  12   requirement. See supra, pp. 3-5. Plaintiffs agree that each alleged claim has that common
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                                  13   element. Plaintiffs seek to satisfy the element based on three theories: (i) capacity of Hot Cups is

                                  14   exactly the Promised Beverage Volume, (ii) milk foam added to Lattes does not count towards

                                  15   Promised Beverage Volume, and (iii) the total volume of the ingredients used to make Lattes do

                                  16   not add up to the Promised Beverage Volume. The Court addresses each of plaintiffs’ theories.7

                                  17                       1. First Theory: Hot Cup Capacity

                                  18          Plaintiffs allege that when “filled to the brink” Hot Cups hold “exactly” the Promised

                                  19   Beverage Volumes. (FAC ¶ 27 (emphasis in original).) In response, Starbucks offers the

                                  20   declaration of Wendy Lubahn, a senior manager of quality assurance and food safety for

                                  21   packaging, who testifies that Starbucks requires its suppliers to manufacture Hot Cups with

                                  22   volume capacities which are at least 8–12% greater than the Promised Beverage Volume

                                  23   depending on the size of beverage ordered. (See Lubahn Decl. ¶ 4, Exhs. A, B.) Defendant also

                                  24   provides the Starbucks “Sourcing Toolkit” which specifies the “Mandatory Minimum Standard

                                  25   Requirements” for Hot Cups including “Size, Dimensions, and Weight” and “Capacity to Brim.”8

                                  26
                                              7
                                                Further, defendant argues that plaintiffs lack standing to pursue their claims for various
                                  27   reasons. In light of the Court’s holding, the Court need not reach this issue.
                                  28          8
                                                  Plaintiffs argue that Ms. Lubahn’s declaration and supporting documents are (i)
                                                                                          7
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                                   1   (Id.)

                                   2           Plaintiffs challenge Ms. Lubahn’s declaration and supporting documents on the ground

                                   3   that the Sourcing Toolkit does not purport to measure “any actual hot serving cups,” but merely

                                   4   conveys “manufacturing specifications” for suppliers. (Dkt No. 99 at 7-8.) However, plaintiffs

                                   5   offer no evidence that any actual Hot Cups fail to comply with the Mandatory Minimum Standard

                                   6   Requirements set forth in defendant’s Sourcing Toolkit.

                                   7           Plaintiffs also offer the expert opinion of Carol T. Hockert, a former Division Chief at the

                                   8   National Institute of Standards and Technology, Office of Weights and Measures. (Dkt. No. 106-

                                   9   2, Declaration and Expert Report of Carol T. Hockert (“Hockert Rpt.”).) Hockert opines that

                                  10   “given Plaintiff Robles’ testimony that his Grande was underfilled to 1.125 inches below the rim,

                                  11   my measurements would indicate an underfilling of approximately 21.25%” relative to the

                                  12   Promised Beverage Volume. (Id. at III.D.) Hockert offers a similar opinion also based on
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                                  13   portions of Crittenden’s testimony (14% underfilling). (Id.) However, plaintiffs gloss over the fact

                                  14   that Hockert’s own analysis indicates that the capacity of Hot Cups is 14.5 fl. oz. for a Tall, 18.5

                                  15   for a Grande, and 22.8 for a Venti beverage. (Id.) According to Hocker’s findings, the capacity of

                                  16   Hot Cups is actually 14.1–20.8% greater than the Promised Beverage Volume depending on the

                                  17   size of beverage ordered. In other words, plaintiffs’ own expert corroborates Lubahn’s testimony

                                  18   and contradicts plaintiffs’ allegation that Hot Cups hold “exactly” the Promised Beverage Volume.

                                  19   (FAC ¶¶ 3, 27.)

                                  20           In any event, plaintiffs effectively concede that they have insufficient evidence to support

                                  21   this theory by seeking to withdraw it. (See Dkt. No. 115 at 2.) Therefore, the Court GRANTS

                                  22   defendant’s motion for summary judgment on plaintiffs’ First Theory.

                                  23
                                       inadmissible hearsay under Fed. R. Evid. 801(c)(2), (ii) irrelevant under Fed. R. Evid. 401, and
                                  24   (iii) not based on personal knowledge pursuant to Fed. R. Evid. 602. Plaintiffs do not persuade.
                                  25   First, the Sourcing Toolkit falls within the business record exception to the hearsay rule. See Fed.
                                       R. Evid. 803(6). Second, the declaration and supporting documents are relevant to rebut
                                  26   plaintiffs’ allegation that the capacity of Hot Cups is exactly the Promise Beverage Volume.
                                       Third, Ms. Lubahn has personal knowledge of the Sourcing Toolkit and Hot Cup capacities
                                  27   through her work as senior manager of quality assurance and food safety for packaging.
                                       Specifically, Ms. Lubahn’s responsibilities include overseeing procurement of cups used for hot
                                  28
                                       beverages. (Lubhan Decl. ¶ 2.)
                                                                                          8
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                                   1                       2. Second Theory: Milk Foam

                                   2           According to plaintiffs, the “foam added to the top of Starbucks Lattes does not count

                                   3   toward the volume of its beverages” because “foam is not measured on a volumetric basis.” (FAC

                                   4   ¶ 29.) Plaintiffs’ argument fails in light of plaintiffs’ own allegation that milk foam is a

                                   5   component of a Latte. (FAC ¶ 29.) Forouzesh v. Starbucks Corp., 2016 U.S. Dist. LEXIS 111701

                                   6   (C.D. Cal. 2016), is instructive. There, plaintiff brought a punitive class action alleging that

                                   7   Starbucks defrauded its customers by advertising its cold drinks as containing more liquid than the

                                   8   drinks actually contained. Id. at *1–2. According to the complaint, Starbucks underfilled its cold

                                   9   drinks by adding ice to make the cups appear full. Id. at *2. In dismissing the complaint with

                                  10   prejudice, the court highlighted that a reasonable consumer would not be deceived into believing

                                  11   that Starbucks’ cold drinks contained the Promised Beverage Volume excluding ice because when

                                  12   “a reasonable consumer walks into a Starbucks and orders a[n] iced tea, that consumer knows the
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                                  13   size of the cup that drink will be served in and that a portion of the drink will consist of ice.” Id. at

                                  14   * 7–8; see also Galanis v. Starbucks Corp., 2016 U.S. Dist. LEXIS 142380 (N.D. Ill. 2016).

                                  15   Further, the court noted that a consumer “can increase the amount of beverage they receive[] if

                                  16   they order ‘no ice.’” 9 Id. at * 7.

                                  17           Just as a reasonable consumer would not be deceived into believing that cold drinks

                                  18   contain the Promised Beverage Volume excluding ice, no reasonable consumer would be deceived

                                  19   into believing that Lattes which are made up of espresso, steamed milk, and milk foam contain the

                                  20   Promised Beverage Volume excluding milk foam. As in Forouzesh, “neither the menu nor signage

                                  21
                                               9
                                  22            Plaintiffs argue that Forouzesh and Galanis do not help Starbucks because these cases
                                       involved cold rather than hot beverages. In support of this assertion, plaintiffs rely on the decision
                                  23   of the U.S. Judicial Panel on Multidistrict Litigation (“MDL Panel”) not to consolidate Forouzesh
                                       and Galanis with the present case on the grounds that the factual dissimilarities between the cases
                                  24   “likely will result in discovery, pretrial motions, and class certification issues that are not shared
                                  25   across the beverage categories.” (Dkt. No. 99 at 12.) Plaintiffs’ argument is without merit, as
                                       mere factual dissimilarities between cases do not necessarily render those cases inapposite. The
                                  26   Court notes that although some differences between cold and hot beverages exist, those
                                       differences were not material to the Forouzesh court’s holding which focused on a reasonable
                                  27   consumer’s expectation when ordering a beverage made up of discrete ingredients. In Forouzesh,
                                       those ingredients were ice and tea. Here, the relevant ingredients are steamed milk, espresso, and
                                  28
                                       milk foam.
                                                                                           9
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                                   1   Plaintiff has reproduced and incorporated into [the First Amended] Complaint explicitly state that

                                   2   the [Lattes] consist of the identified ounces of liquid.” Id. at *8. Further, when a reasonable

                                   3   consumer walks into a Starbucks and orders a Latte, “that consumer knows the size of the cup that

                                   4   drink will be served in and that a portion of the drink will consist of [milk foam].” Id. at * 7–8

                                   5   (emphasis supplied). Accordingly, “the Court has no difficulty concluding that a reasonable

                                   6   consumer would not be deceived into thinking that when they order [a Latte], that the drink they

                                   7   receive will include” espresso, steamed milk, and milk foam, and “some portion of that drink” will

                                   8   be milk foam “rather than whatever liquid beverage the consumer ordered.” Id. In any event,

                                   9   plaintiffs “can increase the amount of [liquid] beverage they receive[] if they order” a Latte with

                                  10   light or no foam. Id. at *7. The Court thus finds that plaintiffs’ argument regarding milk foam

                                  11   fails because a reasonable consumer would not be misled into believing that foam does not count

                                  12   toward some portion of the volume of their Latte. See id.
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                                  13          Plaintiffs argue that Starbucks has failed to introduce any evidence regarding consumer

                                  14   perceptions, whereas plaintiffs offer the declaration and expert report of Dr. J. Michael Dennis,

                                  15   Senior Vice President of the National Opinion Research Center at the University of Chicago.

                                  16   (Dkt. No 106-3, Declaration and Expert Report of J. Michael Dennis, Ph. D. (“Dennis Rpt.”).)

                                  17   Based on two online surveys which Dr. Dennis designed and conducted, Dr. Dennis opines that

                                  18   70-80% of consumers expect that foam “is in addition to” the Promised Beverage Volume of a

                                  19   Latte. (Id. at ¶ 20, Attachment B.)

                                  20          The first survey (the “menu board survey”) showed respondents images from a

                                  21   hypothetical menu board which identified “small 12 fl. oz.,” “medium 16 fl. oz.,” and “large 20 fl.

                                  22   oz.,” and then asked “how many fluid ounces of the beverage do you expect to receive.” (Dkt. No.

                                  23   120, Declaration of Sacha Henry, Ex. A, Deposition of J. Michael Dennis (“Dennis Dep.”) at

                                  24   75:20-22.) The Court notes that Dr. Dennis did not use the Starbucks vernacular of “Tall”,

                                  25   “Grande,” or “Venti” as alleged in the FAC. Further, Dr. Dennis testified that he “did not measure

                                  26   consumers’ understanding of what they mean or how they interpret what fluid ounce means.” (Id.

                                  27   at 28:2-4.) Dr. Dennis also stated that his menu board survey did not measure customer “exposure

                                  28   to or awareness of or use of [Starbucks] menu boards.” (Id. at 22:13-15.)
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                                   1          The second survey (the “foam survey”) presented respondents with two images of a cup

                                   2   with a perforated line identified as “16 fluid ounces” where the perforated line in one image

                                   3   appears above the portion of the contents labeled “fluid” and “foam” and, in the other, the line

                                   4   appears between the contents of the cup labeled “fluid” and “foam.” Respondents were asked to

                                   5   “please select which medium 16 fl. oz. beverage you would expect to receive.” (Dkt. No. 106-3.)

                                   6   Dr. Dennis stated during his deposition that he decided not to include the language Starbucks

                                   7   customarily uses to identify its beverage sizes (i.e., Tall, Grande and Venti) due to the “close

                                   8   association to the Starbucks brand.” (Dennis Dep. at 72:18-73:5.)

                                   9          Plaintiffs do not persuade. First, as an initial matter, expert testimony is not necessary to

                                  10   establish whether reasonable consumers believe that milk foam counts towards the volume of a

                                  11   Latte when it is undisputed that milk foam is a component of the same. See Forouzesh, 2016 U.S.

                                  12   Dist. LEXIS 111701, at * 7–8; see also Galanis, 2016 U.S. Dist. LEXIS 142380. Plaintiffs allege
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                                  13   that a Latte is comprised of three ingredients: expresso, steamed milk, and milk foam. (FAC ¶¶

                                  14   12, 13.) The Court finds that a reasonable consumer who purchases a Latte would not expect to

                                  15   receive a beverage which contains the Promised Beverage Volume exclusive of one of those

                                  16   components, namely milk foam.

                                  17          Second, when survey questions are leading and suggestive, this “weaken[s] the relevance

                                  18   and credibility of the survey evidence to the point that it sheds no light on the critical question in

                                  19   [the] case.” Scotts Co. v. United Indus. Corp., 315 F.3d 264, 269 (4th Cir. 2002) (citing Johnson

                                  20   & Johnson-Merck Consumer Pharms. Co. v. Rhone-Poulenc Rorer Pharms., Inc., 19 F.3d 125,

                                  21   129 (3d Cir. 1994)). Here, with regard to the foam survey, Dr. Dennis presented respondents with

                                  22   caricatured images of beverages containing “Fluid” and “Foam” demarcated with a perforated line

                                  23   which indicated “16 fluid ounces.”10 Respondents were then asked to select which of the two

                                  24   images depicted below they expect to receive when ordering a 16 fluid ounce beverage.

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                                  27          10
                                                Further, the surveys fail to explain that a fluid ounce, somewhat counter-intuitively, is a
                                  28   volumetric measurement as opposed to a measurement of weight.

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                                   7   The Court finds this question leading and lacking in reliability because, as phrased, it presumes an

                                   8   answer: in short, the survey asked whether the “Fluid” in a “16 fl. oz.” beverage should be “16.”

                                   9   See Brighton Collectibles, Inc. v. RK Texas Leather Mfg., 923 F.Supp.2d 1245, 1257 (S.D. Cal.

                                  10   2013). “When a survey question begs its answer it is not a true indicator of the likelihood of

                                  11   consumer confusion.” Sunbeam Corp. v. Equity Indus. Corp., 635 F.Supp.625, 634 (E.D. Va.

                                  12   1986), aff’d, 811 F.2d 1505 (4th Cir. 1987). By using the term “16 fluid ounces” in both the
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                                  13   question and the answer choice which supports plaintiffs’ theory, the “question begs its answer

                                  14   [and] it is not a true indicator of the likelihood of consumer confusion.” Id.; see also Universal

                                  15   City Studios, Inc. v. Nintendo Co., Ltd., 746 F. 2d 112, 118 (2d Cir. 1984) (excluding survey

                                  16   where “leading question . . . suggested its own answer.”) Further, by identifying the non-foam

                                  17   portion of a Latte as “Fluid” rather than “Steamed Milk and Expresso,” the survey predisposes

                                  18   respondents to equate “fluid ounce” with “Fluid.”11 This question elicits responses which are

                                  19   suggested by the question itself and ultimately tests reading comprehension and common sense

                                  20   rather than the likelihood of consumer confusion. See Brighton Collectibles, 923 F.Supp.2d at

                                  21   1257; Universal City Studios, 746 F. 2d at 118 (excluding survey where “leading question . . .

                                  22   suggested its own answer). Therefore, the responses to this survey question are entitled to little

                                  23   weight.

                                  24             In summary, Dr. Dennis’ surveys fail to establish a triable issue as to whether reasonable

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                                  26              In addition, these imagines are likely misleading because Dr. Dennis’ images appear to
                                       show the capacity of a Grande Hot Cup as only slightly greater than 16 fl. oz. despite the fact that
                                  27   plaintiffs’ own expert found the capacity of a Grande Hot Cup to be 18.5 fl. oz. (i.e., more than
                                       15% greater than the Promised Beverage Volume).
                                  28           Finally, due to the placement of the perforated line, the image to the left appears to contain
                                       more fluid and more milk foam than the image to the right.
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                                   1   consumers believe that milk foam counts towards the volume of a Latte because (i) it is

                                   2   undisputed that milk foam is a component of the same, and, in any event, the survey questions are

                                   3   (ii) leading and suggestive.12 Therefore, the Court GRANTS defendant’s motion for summary

                                   4   judgment on plaintiffs’ Second Theory.13

                                   5                      3. Third Theory: Fill-To Lines and Beverage Recipe Cards

                                   6          Finally, plaintiffs argue that the Fill-To lines on steaming pitchers used by defendant to

                                   7   make Lattes are too low for the finished product to contain the Promised Beverage Volume.

                                   8   Essentially, plaintiffs claim is that the quantity of ingredients used in Starbucks’ standard recipes

                                   9   to make Lattes do not add up to the Promised Beverage Volume. According to plaintiffs,

                                  10   Starbucks’ “Beverage Recipe Cards” instruct baristas to use quantities of ingredients which do not

                                  11   add up to the Promised Beverage Volume. (Dkt. No. 98, Declaration of L. Timothy Fisher

                                  12   (“Fisher Decl.”), Ex. M.) For example, the instructions for crafting a Grande Latte (represented as
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                                  13   16 fl. oz.) provide for 11 fl. oz. of cold milk and two fl. oz. of espresso, topped with one quarter-

                                  14   inch of milk foam and one quarter-inch of extra space. (Id.) Plaintiffs thus argue that the liquid

                                  15   contents of a Grande Latte are three ounces short of the Promised Beverage Volume.

                                  16          Plaintiffs’ theory fails. As an initial matter, as noted, milk foam must be included when

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                                  18              Plaintiffs have also filed objections to defendant’s citation to certain portions of the
                                       deposition testimonies of Dr. Dennis and Carole Hockert on the ground that these deposition
                                  19   excerpts “are taken out of context” and occurred “subsequent to Plaintiffs’ deadline to oppose
                                       Starbucks’s [sic] motion for summary judgment.” (Dkt. No. 121-5.) Plaintiffs do not persuade.
                                  20   First, plaintiffs fail to show how defendant’s citation to the deposition testimony of Dr. Dennis or
                                       Carole Hockert is taken out of context. Second, plaintiffs ignore the plain fact that these
                                  21   depositions necessarily had to take place after plaintiffs’ deadline to oppose Starbucks’ motion for
                                       summary judgment because the Dennis and Hockert expert reports were not even filed by
                                  22   plaintiffs until after Starbucks’ filed its reply brief in support of summary judgment. Third, the
                                       Court finds that plaintiffs’ objections are more accurately characterized as an unauthorized sur-
                                  23   sur-reply, as plaintiffs devote most of the motion to argument that summary judgment should be
                                       denied. Accordingly, plaintiffs’ objections are OVERRULED.
                                  24            Plaintiffs further argue that Starbucks raises new arguments in its sur-reply regarding
                                       reliance and materially of the challenged representations. However, a review of Starbucks’ initial
                                  25   motion for summary judgment indicates that such arguments were raised previously on October 3,
                                       2017. (Dkt. No. 92 at 10–14.)
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                                                  Defendant argues in its sur-reply that Dr. Dennis’ report should be excluded because it
                                  27   lacks reliability. (Dkt. No. 120.) In light of the Court’s order granting defendant’s motion for
                                       summary judgment the Court need not reach this issue.
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                                   1   measuring the volume of a Latte. Second, the FAC specifically defines a “Latte” as a “coffee

                                   2   drink made with espresso and steamed milk” and states that Lattes are “created by mixing steamed

                                   3   milk and espresso, which is then topped with a thin layer of milk foam.” (Id. ¶¶ 12, 13 (emphasis

                                   4   supplied).) The FAC further alleges that Lattes “are created with 4 simple steps,” the first of

                                   5   which is to “steam milk.” (Id. ¶¶ 16-19.) To the extent that plaintiffs attempt to define a Latte as

                                   6   anything other than a coffee drink made with espresso and steamed milk the attempt is outside the

                                   7   scope of the FAC. See Oliver v. Ralphs Grocery Co., 654 F.3d 903, 905, 908 (9th Cir. 2011)

                                   8   (plaintiffs opposing a motion for summary judgment are not entitled to raise new grounds or

                                   9   theories for which they failed to provide the defendant fair notice). Accordingly, the cold milk

                                  10   measurements indicated on Starbucks’ steaming pitchers and Beverage Recipe Cards fail to raise a

                                  11   triable issue as to underfilling because plaintiffs make no showing that the sum of espresso,

                                  12   steamed milk, and milk foam results in Lattes which are less than the Promised Beverage
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                                  13   Volume.14 Finally, plaintiffs fail to show that leaving one quarter-inch of extra space when filling

                                  14   Hot Cups which have maximum capacities between 1.41–1.67 fl. oz. greater than the Promised

                                  15   Beverage Volume results in Lattes with less than then Promised Beverage Volume.15 (See Lubahn

                                  16   Decl. ¶ 4, Exhs. A, B.)

                                  17          Plaintiffs offer no evidence that after heating and aeration, the sum volume of steamed

                                  18   milk, espresso, and milk foam add up to less than the Promised Beverage Volume. Instead,

                                  19   plaintiffs attack the Antonio declaration on the grounds that she fails to measure the degree to

                                  20   which milk expands as it is heated and how the amount of steamed milk and foam varies

                                  21   depending on the type of milk used. However, plaintiffs do not articulate how Antonio’s failure to

                                  22   quantify the volumetric effect of steaming and aeration raises a genuine issue of material fact.

                                  23   Starbucks has introduced evidence which indicates that summing the volume of ingredients listed

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                                  25             Notably, Starbucks offers evidence that “as milk is aerated and steamed, it expands,
                                       taking up more room in the steaming pitcher.” (Antonio Decl. ¶ 13.)
                                  26
                                              15
                                                 Plaintiffs also argue for the first time in their opposition brief that Beverage Recipe
                                  27   Cards do not instruct baristas to leave one quarter-inch of extra space. (Dkt. No. 19.) The Court
                                       notes that this position is contrary to the allegation in the FAC. (FAC ¶¶ 16-18, 27.)
                                  28
                                                                                        14
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                                   1   in Beverage Recipe Cards does not provide an accurate measure of hot beverage volume because

                                   2   the largest ingredient of a Latte by volume, namely milk, expands as it is heated and aerated.

                                   3   Plaintiffs do not dispute the fact that milk expands when it is heated and aerated. Accordingly,

                                   4   plaintiffs’ criticism fails because plaintiffs offer no evidence that after heating and aeration the

                                   5   total volume of the expresso, steamed milk, and milk foam do not add up to the Promised

                                   6   Beverage Volume.16

                                   7            Finally, plaintiffs rely on the declaration of Hockert who opines that the sum of the

                                   8   ingredients listed in Starbucks’ Beverage Recipe Cards is less than the Promised Beverage

                                   9   Volume even after accounting for “fluid expansion of milk . . . in the steaming pitcher as it is

                                  10   being heated.” (Hockert Rpt. at V.D.) However, Hockert failed to account for the fluid expansion

                                  11   of milk as it steamed, frothed, and aerated, because she never steamed the milk. (Henry Decl., Ex

                                  12   B, Deposition of Carol T. Hockert at 15:22-16:1, 198:12-114.) Further, Hockert testified that she
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                                  13   did not even heat the milk but relied on an uncited study which she found by searching the internet

                                  14   to impute an expansion rate for milk as it is heated. (Id. at 15:9-19; 198:4-11.) During her

                                  15   deposition Hockert could not identify the study on which she relied. Accordingly, Hocker’s

                                  16   testimony regarding cold, un-steamed milk is insufficient to establish a triable issue with regard to

                                  17   plaintiffs’ Third Theory. Therefore, the Court GRANTS defendant’s motion for summary judgment

                                  18   on plaintiffs’ Third Theory.17

                                  19   //

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                                                 The anecdotal evidence of alleged underfilling offered by Robles is similarly
                                  23   insufficient. Robles did not observe the volume of his Latte when he received the hot beverage.
                                       (Dkt. No. 92, Declaration of Sascha Henry (“Henry Decl.), Ex. A (“Robles Dep.) at 56:21-22,
                                  24   57:2-4. 58:2-4. 60:20-22.) Rather, Robles testified that he inspected his Latte after driving several
                                       miles and parking his car. This time-lapse likely caused the Latte to cool and settle, thus
                                  25   decreasing in volume. (Id. at 60:1-62:6.)
                                  26            17
                                                 Defendant argues in its sur-reply that Dr. Dennis’ and Hockert’s reports should be
                                  27   excluded because plaintiffs failed to exercise diligence in conducting discovery. In light of the
                                       Court’s order granting defendant’s motion for summary judgment the Court need not reach this
                                  28   issue.

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                                   1   IV.     CONCLUSION

                                   2           As discussed above, each of plaintiffs’ causes of action requires, at minimum, a false

                                   3   statement or misrepresentation. Plaintiffs’ failure to establish such a statement or representation is

                                   4   fatal to each of their eight claims.18 For the reasons discussed above, the Court thus finds that

                                   5   plaintiffs have failed to raise a triable issue of fact as to whether defendant made a false statement

                                   6   or misrepresentation pursuant to any of plaintiffs’ three theories, namely that (i) the capacity of

                                   7   Hot Cups is exactly the Promised Beverage Volume, (ii) milk foam does not count toward the

                                   8   volume of a Latte, and (iii) Starbucks’ steaming pitchers and Beverage Recipe Cards specify

                                   9   quantities of ingredients which result in Lattes which contain less than the Promised Beverage

                                  10   Volume. Accordingly, plaintiffs fail to show that Lattes contain less than the Promised Beverage

                                  11   Volume represented on Starbucks’ menu boards.

                                  12           Therefore, the Court GRANTS Starbucks’ motion for summary judgment and DENIES
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                                  13   plaintiffs’ motion to strike. Plaintiffs’ motion for class certification is DENIED AS MOOT. (Dkt.

                                  14   Nos. 105, 106.)

                                  15           This terminates Dkt. Nos. 92, 100, 105, 106.

                                  16           Defendant shall file a form of judgment approved as to form within five business days of

                                  17   the date of this order.

                                  18           IT IS SO ORDERED.

                                  19   Dated: January 5, 2018
                                                                                        YVONNE GONZALEZ ROGERS
                                  20                                                    UNITED STATES DISTRICT COURT JUDGE
                                  21
                                               18
                                  22              The Court notes that Strumlauf’s claim under the CLRA fails for the additional reason
                                       that Strumlauf did not provide Starbucks with notice of the alleged violation at least 30 days
                                  23   before filing her complaint as required by Cal. Civ. Code § 1782(a). Plaintiffs argue that
                                       Strumlauf should be relieved of this obligation because Robles sent a letter on behalf of a class of
                                  24   all purchasers, and Starbucks failed to raise Strumlauf’s failure to comply with Section 1782(a) in
                                  25   its motion to dismiss. Plaintiffs do not persuade in light of their failure to cite any authority in
                                       support of these arguments.
                                  26           Further, plaintiffs’ claims for equitable relief, (FAC ¶¶ 56 (seeking restitution for CLRA
                                       violation), 111 (seeking equitable relief with regard to fraud claim)), fail as a matter of law
                                  27   because plaintiff fails to show that “there is no adequate remedy at law available.” Munning v.
                                       Gap, Inc., 238 F. Supp.3d 1195, 1203 (N.D. Cal. 2017).
                                  28
                                                                                         16
